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Barry M. Landy

From:                       Gregg Meyers <greggmeyers@piercesloan.com>
Sent:                       Monday, April 2, 2018 7:39 PM
To:                         Barry M. Landy
Subject:                    Re: I have not heard back from you



Which is the way to approach the issue –ask.

Your info is incorrect. The cases are all on appeal. They are narrowing down to the
lawyers who brought the 2007 class action and while they make for great
defendants before a jury, they are politically connected. So no surprise that the
trial court ignored the controlling appellate case, right on point, and said it didn’t
apply. This is, after all, South Carolina.

I sent my initial brief in this past Friday.

I don’t know what kind of suction (if you are a fan of The Wire) the guy has with
the present members of the SC Supremes, but that is where it is going to wind up,
for the third time. Sometimes appellate courts get tired of an issue and lose
interest on multiple appeals, but in times 1 and 2 they largely ducked the issues
they are now going to have to confront. Unless they are tired of it and choose to
look hard the other way and let go the percolating corruption that went on in the
case. My chances ought to be excellent, given the controlling case, but we shall see.

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From: "Barry M. Landy" <BML@ciresiconlin.com>
Date: Monday, April 2, 2018 at 6:24 PM
To: Gregg Meyers <greggmeyers@piercesloan.com>
Subject: RE: I have not heard back from you

Gregg:

Our understanding is that the cases listed in the settlement agreement against the Diocese of Charleston have been
resolved. If that is not the case, please let us know.

Regards,

Barry M. Landy
Associate
P:    612.361.8224
E:    BML@ciresiconlin.com



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From: Gregg Meyers <greggmeyers@piercesloan.com>
Sent: Friday, March 30, 2018 1:40 PM
To: Barry M. Landy <BML@ciresiconlin.com>
Subject: I have not heard back from you

Barry:

On March 27 you made an accusation. You didn’t ask a question, or state a concern
and explain why, or ask for information. You made an accusation. Which of course
was your client’s accusation, not yours.

I responded almost immediately, and both informed you that the accusation was
factually mistaken and asked you to please explain the basis of the false
accusation.
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In response I have heard nothing. It is now three days later. I have still heard
nothing in response.

By his own account, your client is prone to conduct himself in a “ ready, fire, aim”
manner. He admits this about himself, using precisely those words. That tendency
was on full display when I worked for him, in how I saw him treat others and how
he chose to treat me and his clients without doing even the most rudimentary
investigation before he decided to jump to conclusions and start making false
accusations. Minnesota law gave him latitude to do that while I worked for him.
But now I no longer work for him. Which means for him, unfortunately, that he is
now working on a level playing field, not the one tilted strongly in his favor, and he
is going to be accountable when he chooses to treat anyone in the same
irresponsible manner.

A record is accumulating of your client repeatedly throwing out false accusations
and false claims without any factual basis. False claims that the slightest
investigation would have shown were false. March 27 was only his most recent.

I ask again. On what basis did your client elect to make against me the false
accusation he had you make on March 27?

I appreciate that he isn’t accustomed to being held accountable, or of spending any
effort to investigate before he makes false accusations. But now when I see him do
it, he is going to account for having done so.

On what factual basis did you client choose to make his most recent false
accusation that you communicated to me on March 27?

Best personal regards.


Gregg Meyers
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